 Case 8:21-cv-02284-WFJ-TGW Document 22 Filed 12/03/21 Page 1 of 1 PageID 87

                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

TIFFANY GREEN,

      Plaintiff,

v.                                                 Case No: 8:21-cv-2284-WFJ-TGW

CAPSTONE CREDIT &
COLLECTIONS, LLC and EXPERIAN
INFORMATION SOLUTIONS, INC.,

      Defendants.
                                           /

                                       ORDER
      The Court has been advised by the Notice of Settlement (Dkt. 21) that the

above-styled action has been settled as to Experian Information Solutions, Inc.

(“Experian”). Accordingly, pursuant to Local Rule 3.09, M.D. Fla., it is

      ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice as to Experian and subject to the right of the parties, within sixty (60) days of

the date of this order, to submit a stipulated form of final order or judgment should they

so choose or for any party to move to reopen the action, upon good cause shown. After

that 60-day period, however, dismissal shall be with prejudice as to Experian. The

Clerk is directed to terminate any pending motions/deadlines and to CLOSE the file.

       DONE and ORDERED in Tampa, Florida on December 3, 2021.

                                            s/William F. Jung
                                          WILLIAM F. JUNG
                                          UNITED STATES DISTRICT JUDGE
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Counsel of Record
